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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF FLORIDA
                               PENSACOLA DIVISION

UNITED STATES OF AMERICA

vs.                                                   Case Nos.:     3:13cr34/RV/EMT
                                                                     3:14cv15/RV/EMT
JAMES E. ATIABI
_____________________________________/

                            REPORT AND RECOMMENDATION
        This cause is before the court upon referral from the clerk. Defendant commenced this action
by filing a “Motion Pursuant to 28 U.S.C. § 2255 to Set Aside or Correct Sentence, Submitted in
Legal Affidavit Form” in March of 2015 (doc. 362). The court promptly entered a detailed order
directing Defendant to file an amended § 2255 motion on the proper court form (doc. 363). In lieu
of complying with this order, Defendant filed an “Affidavit in Response to the Magistrates [sic]
Actions Intended to Subvert the Right of Habeas Corpus” (doc. 366). The court then entered another
order directing Defendant to file an amended § 2255 motion on or before May 13, 2015 (doc. 367).
Defendant was subsequently granted an extension to June 10, 2015, in which to file his amended
motion (see docs. 368, 369). That time elapsed, and therefore on June 23, 2015, the court issued an
order requiring Defendant to show cause, within twenty-one (21) days, why this action should not
be dismissed for his failure to comply with an order of the court (doc. 381). Defendant has failed
to file an amended § 2255 motion as instructed.
        Accordingly, it is respectfully RECOMMENDED:
        That this case be DISMISSED without prejudice for Defendant’s failure to comply with
an order of the court.
        At Pensacola, Florida, this 21st day of July 2015.

                                              /s/ Elizabeth M. Timothy
                                              ELIZABETH M. TIMOTHY
                                              CHIEF UNITED STATES MAGISTRATE JUDGE
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                                         NOTICE TO THE PARTIES

       Objections to these proposed findings and recommendations must be filed within
fourteen (14) days after being served a copy thereof. Any different deadline that may appear
on the electronic docket is for the court’s internal use only, and does not control. A copy of
objections shall be served upon all other parties. If a party fails to object to the magistrate
judge's findings or recommendations as to any particular claim or issue contained in a report
and recommendation, that party waives the right to challenge on appeal the district court's
order based on the unobjected-to factual and legal conclusions. See 11th Cir. Rule 3-1; 28
U.S.C. § 636.




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